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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                    Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                          Phone: (312) 435-5850
             Chicago, Illinois 60604                                                www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 May 4, 2016


    Before:                             MICHAEL S. KANNE, Circuit Judge
                                        DIANE S. SYKES, Circuit Judge
                                        DAVID F. HAMILTON, Circuit Judge




                                         TIMOTHY VANDER PLAATS,
                                         Plaintiff - Appellant

 No. 15-3342                             v.

                                         MICHAEL BARTHELEMY,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 4:14-cv-00009-JTM
 Northern District of Indiana, Hammond Division at Lafayette
 District Judge James T. Moody



The judgment of the District Court is AFFIRMED, with costs, in accordance with the decision
of this court entered on this date.



 form name: c7_FinalJudgment(form ID: 132)
